     Case 1:15-cr-00169-DAD-BAM Document 136 Filed 06/11/18 Page 1 of 2


 1   McGREGOR W. SCOTT
     United States Attorney
 2   KIMBERLY A. SANCHEZ
     Assistant United States Attorney
 3   2500 Tulare Street, Suite 4401
     Fresno, CA 93721
 4   Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
 5
     Attorneys for Plaintiff United States of America
 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          Case No. 1:15-cr-00169-DAD-BAM-5
12                      Plaintiff,
13          v.                                          STIPULATION AND ORDER TO
                                                        CONTINUE SENTENCING
14   ABRAHAM CHAVEZ,
15                      Defendant.
16

17          IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States Attorney

18   and Kimberly A. Sanchez, Assistant U.S. Attorney and the undersigned attorney for defendant

19   Abraham Chavez that the sentencing hearing set for June 18, 2018 at 10:00 am before the

20   Honorable Dale A. Drozd, U.S. District Court Judge, be continued to October 22, 2018 at 10:00

21   a.m. The reason for the request is that the parties have received information indicating that the

22   defendant remains in the Delancey Street Program as is expected to remain there until early 2019.

23

24

25                             [Remainder of page intentionally left blank.]

26
27

28
                                                      1
     Case 1:15-cr-00169-DAD-BAM Document 136 Filed 06/11/18 Page 2 of 2


 1   As such, the parties believe that setting another status on June 18, 2018 is appropriate to continue

 2   to monitor the defendant’s progress.

 3   Dated: June 8, 2018                           Respectfully submitted,
                                                   McGREGOR W. SCOTT
 4                                                 United States Attorney
 5
                                            By    /s/ Kimberly A. Sanchez
 6                                                KIMBERLY A. SANCHEZ
                                                  Assistant U.S. Attorney
 7

 8   Dated: June 8, 2018                          /s/ Kevin Little
                                                  KEVIN LITTLE
 9                                                Attorney for Defendant
10

11                                                ORDER

12          The court has reviewed and considered the stipulation of the parties to continue the

13   sentencing in this case. Good cause appearing, the sentencing hearing as to the above named

14   defendant currently scheduled for June 18, 2018, is continued until October 22, 2018, at 10:00

15   a.m. in courtroom 5 before District Judge Dale A. Drozd.

16   IT IS SO ORDERED.
17
        Dated:     June 11, 2018
18                                                        UNITED STATES DISTRICT JUDGE

19

20
21

22

23

24

25

26
27

28
                                                      2
